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   15
                               IN THE UNITED STATES DISTRICT COURT
   16

   17                             CENTRAL DISTRICT OF CALIFORNIA

   18
        12909 CORDARY, LLC                              Case No.: 8:22-cv-01748-JWH-JDE
   19

   20                                   Plaintiff,      Hon. John W. Holcomb

   21              v.                                   DEFENDANTS HUSSEIN M.
   22                                                   BERRI AND EXCALIBER
        HUSSEIN M. BERRI, et al.,                       FUELS’ TRIAL BRIEF
   23

   24                                   Defendants.    Current Trial Date: April 29, 2024

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    1              Pursuant to the Court’s Scheduling Order (Dkt. 37) and Local Rule 16-10,
    2   Defendants and Cross-Claimants Hussein M. Berri (“Berri”) and Excaliber Fuels
    3   (“Excaliber”) (collectively “Excaliber Defendants”) hereby submit the following
    4   Trial Brief in support of their position at trial and in response to Plaintiff 12909
    5   Cordary, LLC’s (“Plaintiff”) Memorandum of Contentions of Fact and Law.
    6   I.         FACTUAL BACKGROUND
    7              This action arises out of Plaintiff’s attempts to require Excaliber Defendants
    8   to cleanup contamination beneath Plaintiff’s property, located at 14041 Newland
    9   Street, Westminster, California 92683 (the “Newland Property”). Berri has owned
   10   the adjoining property, located at 8482 Westminster Boulevard, Westminster,
   11   California 92683 (the “Excaliber Property”), and operated a gasoline station
   12   business and serving the Los Angeles County community thereon as Excaliber
   13   Fuels since on or about 1982. Since the 1960s (and prior to Excaliber Defendants’
   14   ownership and operation), the Excaliber Property was historically utilized as a
   15   gasoline station, which included the historic use of underground storage tanks
   16   (“USTs”). In light of these historic operations, Excaliber Defendants have been
   17   diligently updating/replacing required UST equipment (in accordance with updated
   18   regulations) and performing environmental investigation and remediation activities
   19   since that time.
   20              Despite ample evidence that (1) that Plaintiff has suffered no actual harm and
   21   only nominal damages, if any, as a result of the alleged contamination on the
   22   Newland Property; (2) Excaliber Defendants have been, and continue to, perform
   23   the same environmental investigation, monitoring, and remediation since the early-
   24   2000s for which Plaintiff has requested injunctive relief for in this action; (3) that
   25   nearby former gasoline service stations located upgradient from the Newland
   26   Property with documented releases of constituents of concern (“COCs”) have
   27   migrated onto the Newland Property; and (4) that Plaintiff’s own expert has
   28   concluded that Excaliber Defendants’ ongoing activities at the Newland Property

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    1   are sufficient to adequately investigate and potentially remediate any alleged
    2   conditions thereon, Plaintiff has frivolously filed this action claiming damages
    3   related to the alleged migration of COCs from the Excaliber Property.
    4              Plaintiff contends that releases of petroleum and benzene from the operation
    5   of former USTs conducted by current and former tenants of the Excaliber Property
    6   (a gasoline station) contaminated the soil and groundwater beneath the Newland
    7   Property, and that Plaintiff has thus suffered damages as a result. Excaliber
    8   Defendants deny these contentions. Excaliber Defendants contends that there were
    9   releases of petroleum products at two other former gasoline service stations, both
   10   located north and upgradient from the Newland Property, that caused separate
   11   plumes of contamination that have comingled. Excaliber Defendants further
   12   contend that Plaintiff has suffered only nominal damages, if any, and that there
   13   exists no “imminent and substantial endangerment” of human health or the
   14   environment as a result of any contamination allegedly present on the Newland
   15   Property.
   16              Plaintiff seeks damages for past costs of cleanup to the Newland Property
   17   and equitable relief in the form of an injunction requiring Excaliber Defendants to
   18   cleanup both the Newland Property and the Excaliber Property to prevent the
   19   alleged continuing migration of contaminants from the Excaliber Property to the
   20   Newland Property.
   21              A.      History Of Investigation And Remediation.
   22              Excaliber Property was acquired by Berri as an operating gas station, in or
   23   about 1982. At some point, when regulations were tightened regarding the
   24   requirements for the construction and operation of USTs, the Excaliber Property
   25   was compelled to cease operating as a gasoline station and operated solely as an
   26   automobile repair facility for approximately two to three years while Defendants
   27   made plans and acquired funds to redevelop the Excaliber Property.
   28              In 1999, as part of Berri’s redevelopment of the Excaliber Property and in
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    1   order to reinstate gasoline service operations in accordance with legal requirements,
    2   several existing USTs were removed from the Excaliber Property, to be replaced by
    3   compliant USTs and vapor recovery systems required by the new legislation.
    4   During this removal, a leak, and associated soil and groundwater contamination,
    5   was identified. These impacts were immediately reported to the appropriate
    6   regulatory authorities, and environmental investigation and remediation
    7   commenced under the Orange County Health Care Agency’s (“OCHCA”) Orange
    8   County Local Oversight Program (“OCLOP”).1 Funding for the investigation and
    9   remedial actions were provided under the California State Water Resources Control
   10   Board’s (“SWRCB”) UST Cleanup Fund, which provides small businesses and
   11   individuals State-funded reimbursement for expenses associated with the cleanup of
   12   leaking USTs. Upon the initiation of investigation activities, it was determined by
   13   numerous consultants who worked to evaluate the Excaliber Property that the
   14   contaminants identified were potentially due, at least in part, to a contamination
   15   plume traveling from other former gasoline service stations historically located
   16   north and northeast (upgradient) of the Excaliber Property and the Newland
   17   Property. These former gasoline stations also had documented historical releases
   18   from USTs that were similarly reported and investigated under regulatory oversight,
   19   beginning as far back as 1984 and during or at the same time as the discovery of the
   20   contamination on the Excaliber Property (approximately 2000).
   21              In 2001, while environmental investigations continued, 5 new USTs were
   22   installed at the Excaliber Property in accordance with all legal requirements, and
   23   gasoline service operations were resumed. Since then, gasoline station operations
   24   have been conducted by a number of tenants, including Mobil and Unocal
   25   Corporation.
   26              From 2002 to 2006, as part of the ongoing investigation and with the
   27

   28   1
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    1   approval and direction of OCHCA, Excaliber Defendants effectuated the
    2   performance of groundwater remediation activities and the piloting, installation,
    3   and operation of a Dual Phase Vapor Extraction (“DPVE”) system, which
    4   drastically decreased concentrations of identified impacts to groundwater and soil
    5   vapor at both the Newland Property and the Excaliber Property. From 2008 to
    6   2009, multiple full scale chemical injection events, utilizing 33 injection points on
    7   the Newland Property and 20 injection points on the Excaliber Property, were
    8   performed to further assist with the remediation of both sites. All of these activities
    9   were performed at the direction of OCHCA with ongoing monitoring events to
   10   ensure effective remediation. Additional remedial events in the form of free product
   11   removal from groundwater was performed in 2014 to 2015.
   12              In 2013 and 2018, in order to assess and ensure the safety of residents at the
   13   Newland Property, ambient air sampling and indoor air quality sampling were
   14   performed at the Newland Property. These studies determined the following: (1)
   15   “the health risk for building occupancy related to gasoline exposure to the tenants is
   16   acceptable,” and (2) “constituents detected at concentrations exceeding their
   17   respective regulatory screening level comparison values [VOCs] are related to point
   18   sources within the apartments and not necessarily a result of vapor intrusion” from
   19   the alleged migration of contaminants from the Excaliber Property.
   20              After exhausting available funds in the performance of OCHCA-directed
   21   investigation and remediation, Excaliber Defendants ceased receiving funds from
   22   the UST Cleanup Fund. Subsequently, Excaliber Defendants made numerous
   23   attempts to work with government regulators to obtain additional funding for
   24   environmental activities at both the Excaliber Property and the Newland Property;
   25   however, no additional funding was available and Excaliber Defendants continued
   26   to undertake required activities out of their own pockets.
   27              Most recently, Excaliber Defendants have effectuated, and the Santa Ana
   28
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  1   Regional Water Quality Control Board (“SARWQCB”) has approved2, a Corrective
  2   Action Plan to address contamination on or about both the Excaliber Property and
  3   the Newland Property, and those activities have already been initiated by Excaliber
  4   Defendants’ retained environmental consultant, WSP USA Inc.3 Despite continuous
  5   and ongoing investigation and remedial actions, which have been endlessly paid for
  6   out-of-pocket by Excaliber Defendants despite the potential multiple sources of
  7   contamination, performed under the guidance, and at the direction, of OCHCA and
  8   SARWQCB, Excaliber Defendants continue to this day to conduct investigation
  9   and remedial activities at both the Excaliber Property and the Newland Property.
 10              B.      History Of Plaintiff’s Ownership And Knowledge.
 11              As noted above, environmental impacts related to the Excaliber Property
 12   have been public knowledge since 1999. In 2001, then-owner of the Newland
 13   Property, Richard A. Hall (“Mr. Hall”) and Westminster Living, LP (“Westminster
 14   Living”) filed a civil complaint against Excaliber Defendants alleging identical
 15   claims as set forth by Plaintiff herein. In 2005, based on the ongoing nature of
 16   remedial activities, Excaliber Defendants and Mr. Hall/Westminster Living settled
 17   that civil action.
 18              On December 9, 2002 during the pendency of that prior lawsuit, and while
 19   environmental testing was already occurring on the Newland Property, Siraj
 20   Hassanally (“Mr. Hassanally”), Plaintiff’s owner/manager, acquired the Newland
 21   Property from Westminster Living, which was at the time owned and operated by
 22   Mr. Hall and his partnership, Westminster Living. Mr. Hall’s other company,
 23   Pacific Housing Management, Inc., served as the property manager of that same
 24   property. As noted by Mr. Hall, the Newland Property was sold to Mr. Hassanally
 25   at a discounted rate based solely on the fact that there was the potential for
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 27   https://documents.geotracker.waterboards.ca.gov/regulators/deliverable_documents/7967908561/2023'06'23%20Berr
      i%20Property%20CAP%20Approval.pdf
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  1   contamination thereon from nearby sites. Mr. Hassanally subsequently transferred
  2   ownership of the Newland Property to 110 Spruce LLC (December 23, 2003), and
  3   then to Plaintiff (May 28, 2009) who has retained ownership to this day.
  4              Accordingly, this ownership history establishes two primary facts:
  5              (1) Plaintiff (or Plaintiff’s predecessor) was aware of the potential existence
  6                      of contamination on the Newland Property at the time of acquisition in
  7                      2002; and
  8              (2) Plaintiff acquired the Newland Property at a discounted rate because of
  9                      the potential existence of contamination thereon.
 10              C.        Prior Lawsuit—Westminster Action.
 11              The prior owner of the Newland Property filed the exact same action against
 12   Excaliber Defendants on February 18, 2000 (the “Westminster Action”). The owner
 13   of the Newland Property at that time was Westminster Living, LP, a California
 14   limited partnership (“Westminster Living”), who alleged in its Complaint at para.
 15   10:
                 …Defendant Berri and Does 1 through 30, and each of them, have occupied,
 16
                 used and maintained the service station premises in such a manner that
 17              gasoline and other petroleum hydrocarbons used in the operation of the
                 gasoline service station have leaked from the underground storage tanks on
 18
                 the service station property and have migrated into and contaminated the soil
 19              on the apartment property and ground water thereunder.
 20              By filing another, nearly identical complaint in this Court, Plaintiff has
 21   attempted to resurrect several of the previously adjudicated claims (i.e., the RCRA
 22   claim for Strict Liability pursuant to 42 U.S.C. §6972, and the Recovery of Costs
 23   pursuant to CERCLA, 42 U.S.C. §9607(a)), from the Westminster Action. The
 24   allegations by Plaintiff in its Complaint, the current owner of the Newland
 25   Property, and Westminster Living, the prior owner of the Newland Property in the
 26   Westminster Action, both claim the same damages and devalued property as a
 27   result of contamination of the groundwater at the Newland Property as a result of
 28   contamination on the Excaliber Property.
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  1              At paragraph 11 of the Westminster Action, Mr. Hall and Westminster
  2   Living alleged that:
  3              As a direct and proximate result of the acts and/or omissions of defendants,
                 and each of them, Plaintiff has suffered damages including, but not limited
  4
                 to, an interference with Plaintiff’s use of the apartment property, the
  5              diminution in the apartment property’s value and substantial other costs and
                 expenses. Plaintiff is informed and believes and thereon alleges that it has
  6
                 suffered damages well in excess of five hundred thousand dollars in
  7              diminution of property value as a result of the presence of the contaminants
                 in the soil of the apartment property and sub-adjacent groundwater.
  8

  9              On or about July 21, 2005, Hussein Berri and Excaliber Fuels (as
 10   Defendants) and Westminster Living (as Plaintiff) in the Westminster Action,
 11   entered into a Judgment Pursuant to Stipulation, a true and correct copy of which is
 12   attached to the RJN as Exhibit 3) (“Westminster Judgment”) in satisfaction of all
 13   claims and damages alleged in the Westminster Action.
 14              At trial, the testimony of former Newland Property owner and Cross-
 15   Defendant Mr. Hall, who was a party to the Westminster Action and the principal
 16   of Westminster Living, provided notice to Plaintiff’s managing partner, Mr.
 17   Hassanally, upon his acquisition of the Newland Property in 2002, regarding
 18   existing environmental conditions on and around the Newland Property.
 19              As set forth in Excaliber Defendants’ Motion for Summary Judgment
 20   (Dkt.71), which was denied by this Court, Excaliber Defendants maintain that the
 21   prior Westminster Action bars Plaintiff’s actions herein under the doctrine of res
 22   judicata and collateral estoppel.
 23              D.      Significant Releases From Non-Party Properties.
 24              Plaintiff has provided no evidence that Excaliber Defendants’ alleged
 25   contribution to the contamination on the Newland Property, if any, can be
 26   distinguished from contamination caused by other gasoline service station sites with
 27   long respective histories of releases and contamination. Additionally, Excaliber
 28   Defendants will rely on the nearly 25 years of ongoing cooperation with state and
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  1   local regulatory officials in its efforts to prevent harm to the public health and the
  2   environment from not only contamination that originated from the Excaliber
  3   Property, but those chemicals that have migrated from other former gasoline
  4   stations located around the Newland Property with documents histories of releases
  5   and contamination.
  6              In his Supplemental Response to Request for Production of Documents dated
  7   October 4, 2023 (Joint Exhibit Nos. 266, 267), Berri provided information and
  8   direct links to environmental remediation cases of the adjoining gas stations and
  9   automotive facilities upstream from the Excaliber Property, including those
 10   properties owned and operated by USA Petroleum and Chevron. Leaks and
 11   remediation case were opened on the USA Petroleum property in 19844, and on the
 12   Chevron property in 20005. Based upon remediation techniques utilized in
 13   remediation of these properties, contamination from these properties is the possible
 14   source of the contamination discovered on the Excaliber Property and/or on the
 15   Newland Property.
 16   II.  PLAINTIFF’S FEDERAL LAW CLAIMS
 17              A.      CERCLA.
 18              As discussed in Excaliber Defendants Memorandum of Contentions of Fact
 19   and Law (Dkt. 132), to prevail in its claims under the Comprehensive
 20   Environmental Response, Compensation, and Liability Act (“CERCLA”), Plaintiff
 21   must prove that it has incurred response costs under CERCLA. Plaintiff contends
 22   that petroleum hydrocarbons and volatile organic compound (“VOC”)
 23   contamination from the Excaliber Property migrated into the soil and groundwater
 24   beneath the Newland Property. However, CERCLA excludes petroleum from the
 25   definition of “hazardous substances.” See CERCLA, 42 U.S.C. § 9601(14). Thus,
 26   Plaintiff may only seek the recovery of response costs caused by the alleged release
 27   4
        https://geotracker.waterboards.ca.gov/profile_report.asp?global_id=T0605900435
 28   5
        https://geotracker.waterboards.ca.gov/profile_report.asp?global_id=T0605999149
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  1   of VOCs (provided it can establish the other elements of its CERCLA claim).
  2              Notwithstanding, Plaintiff has failed to provide evidence or documents that it
  3   has incurred costs that were “necessary” and “consistent with the national
  4   contingency plan”, or the amounts of those costs incurred. 42 U.S.C. §§ 9607(a)(4).
  5   As referenced in the 2013 Ambient Air Sampling Report (Joint Exhibit No. 173)
  6   and the 2018 Limited Indoor Air Quality Survey (Joint Exhibit No. 4), there are no
  7   actual exceedances of vapor intrusion to indoor air that would serve as a basis for
  8   necessary response costs under CERCLA. Despite potential other contaminated
  9   media on the Newland Property, Excaliber Defendants have acted as the sole parties
 10   in the environmental investigation and remediation activities on both the Excaliber
 11   Property and the Newland Property, which has been conducted under government
 12   regulatory oversight and direction and in accordance with applicable environmental
 13   regulations.
 14              Plaintiff has failed to offer evidence that it has incurred any recoverable
 15   response costs for the alleged VOC contamination. Notably, during the March 8,
 16   2024 hearing on the parties pending motions in limine, Plaintiff’s counsel admitted
 17   that Plaintiff’s total monetary damages claim for all causes of action is limited to
 18   $3,000 for past response costs. For this, and the additional reasons outlined above,
 19   Plaintiff’s claims under CERCLA must fail at trial.
 20              B.      RCRA.
 21                      i.   No imminent and substantial endangerment.
 22              In sharp contrast to CERCLA, which holds all past and present “owners and
 23   operators” strictly liable for a release of a hazardous substance, under RCRA a
 24   party is only liable if they “contributed or is contributing to” conditions which may
 25   present an “imminent and substantial” endangerment to health or the environment,
 26   See 42 U.S.C. § 6972(a)(1)(B). Plaintiff has failed to present any evidence to show
 27   that Excaliber Defendants have contributed or are contributing to an imminent and
 28   substantial endangerment at the Newland Property.
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  1              “In order to establish ‘imminence,’ the plaintiff must prove that the risk of
  2   threatened harm is currently present on the Site, and that the ‘potential for harm is
  3   great.’ United States v. Aceto Agricultural Chems. Corp., 872 F.2d 1373, 1383 (8th
  4   Cir.1989); see also Price v. United States Navy, 39 F.3d 1011, 1019 (9th Cir.1994)
  5   (imminence refers to the nature of the threat rather than identification of the time
  6   when the endangerment initially arose). Thus, any alleged endangerment ‘must be
  7   substantial or serious, and there must be some necessity for the action.’ Price, 39
  8   F.3d at 1019.” Foster v. United States, 922 F. Supp. 642, 661 (D.D.C. 1996).
  9              Plaintiff has provided no evidence that there exists an imminent and
 10   substantial endangerment to public health or the environment on the basis of
 11   environmental contamination alleged caused or contributed to by Excaliber
 12   Defendants. As referenced in the 2013 Ambient Air Sampling Report (Joint Exhibit
 13   No. 173) and the 2018 Limited Indoor Air Quality Survey (Joint Exhibit No. 4),
 14   there are no actual exceedances of vapor intrusion to indoor air that would serve to
 15   show any imminent or substantial endangerment at the Newland Property, and
 16   Plaintiff has provided no evidence to the contrary. Moreover, in 25 years of
 17   regulatory oversight, no government regulatory agency, even those that have
 18   reviewed and directed cleanup activities at both the Excaliber Property and the
 19   Newland Property, have designated either property as an “imminent and substantial
 20   endangerment” to public health or the environment. Thus, Plaintiff has failed to
 21   meet the threshold showing of “imminence” set forth in Price and Foster, as no
 22   evidence to date has been produced showing that the “potential for harm is great” as
 23   a result of contamination allegedly caused by Excaliber Defendants.
 24                      ii.   No evidence to distinguish alleged contamination from other
                               gasoline stations and from the Excaliber Property.
 25

 26              Furthermore, Plaintiff has provided no evidence that Excaliber Defendants’
 27   alleged contribution to the contamination on the Newland Property, if any, can be
 28   distinguished from contamination caused by other gasoline service station sites with
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  1   long respective histories of releases and contamination. Additionally, Excaliber
  2   Defendants will rely on the nearly 25 years of ongoing cooperation with state and
  3   local regulatory officials in their efforts to prevent harm to the public health and the
  4   environment from not only contamination that originated from the Excaliber
  5   Property, if any, but those chemicals that have migrated from other former gasoline
  6   stations located around the Newland Property with documented histories of releases
  7   and contamination.
  8                      iii.   RCRA claim is barred under the applicable statute of
                                limitations.
  9

 10              Additionally, Plaintiff’s RCRA claim is barred under the applicable statute of
 11   limitations for this action. Although there is no explicit statute of limitations set
 12   forth in the RCRA statute, 28 U.S.C. § 2462 states as follows:
 13              28 U.S.C. § 2462 (Time for Commencing Proceedings)
                 Except as otherwise provided by Act of Congress, an action, suit or
 14
                 proceeding for the enforcement of any civil fine, penalty, or forfeiture,
 15              pecuniary or otherwise, shall not be entertained unless commenced within
                 five years from the date when the claim first accrued if, within the same
 16
                 period, the offender or the property is found within the United States in order
 17              that proper service may be made thereon.
 18              Accordingly, as there is no Act of Congress stating otherwise, there is a strict
 19   five-year statute of limitations on Plaintiff’s RCRA claim. See also Bodne v.
 20   George A. Rheman Co., 811 F. Supp. 218, 221 (D.S.C. 1993); City of Colton v. Am.
 21   Promotional Events, Inc., No. ED CV 09-1864 PSG, 2011 WL 486577, at *5 (C.D.
 22   Cal. Feb. 4, 2011) (noting that because RCRA does not contain its own statute of
 23   limitations, the 5 year statute of limitations found at 28 U.S.C. § 2462 applies).
 24   Evidence will show, including the testimony of former Newland Property owner
 25   and Cross-Defendant Mr. Hall, that notice was provided to Plaintiff’s managing
 26   partner, Mr. Hassanally, regarding the existing environmental conditions on and
 27   around the Newland Property upon Mr. Hassanally’s acquisition of the Newland
 28   Property in 2002 (i.e., during the pendency of the Westminster Action).
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  1              Based on the foregoing, Plaintiff’s RCRA cause of action is barred by the
  2   applicable statute of limitations under 28 U.S.C. § 2462.
  3              For the reasons outlined above, Plaintiff’s claim under RCRA must fail at
  4   trial.
  5   III.       PLAINTIFF’S STATE LAW CLAIMS
  6              A.      Plaintiff Cannot Prove That Excaliber Defendants Were Negligent
                         Or That It Suffered Harm In Support Of Its State Law Claims.
  7

  8              Plaintiff seeks damages for the costs to clean up the Newland Property based
  9   on the state law claims of indemnity, nuisance, trespass and negligence (Dkt. 1). To
 10   prevail in each of these claims, Plaintiff must prove that Excaliber Defendants were
 11   negligent. To prevail on its nuisance claims, Plaintiff also must prove Excaliber
 12   Defendants’ negligence. See Resolution Trust Corp. v. Rossmoor Corp., 34
 13   Cal.App.4th 93, 99-102 (1995).
 14              Plaintiff is unable to prove that Excaliber Defendants were a “substantial
 15   factor” in the alleged harm suffered by Plaintiff. As noted herein, documented
 16   releases of petroleum products at two other former gasoline service stations, both
 17   located north and upgradient from the Newland Property, have caused and/or
 18   contributed to separate plumes of contamination that have comingled and entered
 19   upon the Newland Property. Plaintiff’s failure to adequately investigate and/or
 20   account for the presence of COCs migrating from these additional release sites
 21   represents a fatal flaw in Plaintiff’s allegations and rationale therefor.
 22              With respect to Plaintiff’s nuisance claim, Plaintiff has provided no evidence
 23   sufficient to satisfy the required elements of a private nuisance cause of action,
 24   specifically as it relates to the requirement that Excaliber Defendants have caused a
 25   condition that was “harmful to health, was indecent or offensive to the senses, or
 26   was an obstruction to the free use of property so as to interfere with the comfortable
 27   enjoyment of life or property.” There is no evidence of injury to health, no evidence
 28   of offending the senses, and no evidence that any act or omission by Excaliber
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  1   Defendants has interfered with Plaintiff’s free use of the property. Contrastingly, as
  2   referenced in the 2013 Ambient Air Sampling Report (Joint Exhibit No. 173) and
  3   the 2018 Limited Indoor Air Quality Survey (Joint Exhibit No. 4), there are no
  4   actual exceedances of vapor intrusion to indoor air that would serve to show any
  5   harm or obstruction as a basis for Plaintiff’s private nuisance claim. Plaintiff has
  6   provided no evidence to the contrary.
  7              Additionally, for reasons set forth more fully below, Plaintiff also cannot
  8   show that it “suffered harm” in the form of damages sufficient to satisfy the
  9   required elements of Plaintiff’s state law claims, including negligence, nuisance,
 10   and trespass. For this reason, Plaintiff’s state law claims must fail at trial.
 11              B.      Even If Plaintiff Proves Causation And Prevails On Its State Law
                         Claims, It Can Only Recover Damages Incurred After
 12                      September 22, 2019.
 13              Plaintiff seeks damages for the costs to remediate the Newland Property,
 14   despite the fact that Excaliber Defendants are already engaged in regulator-
 15   approved investigation and remediation actions at the Newland Property. There is a
 16   three-year statute of limitations for injury to property. Cal. Code of Civil Procedure
 17   § 338(b). Plaintiff commenced this action on September 22, 2022 (Dkt. 1).
 18   Excaliber Defendants will present ample evidence to show that Plaintiff’s
 19   negligence claims are barred by the three-year statute of limitations in their entirety
 20   because Plaintiff discovered facts giving rise to their negligence claims no later
 21   than 2002, when Plaintiff’s manager, Mr. Hassanally, acquired the Newland
 22   Property. Accordingly, any recovery under Plaintiff’s remaining state law claims
 23   for indemnity and private nuisance and trespass would be limited to any damages
 24   that it incurred after September 22, 2019—three years prior to commencing this
 25   action.
 26   IV.        PLAINTIFF’S CLAIMED DAMAGES
 27              Plaintiff’s claimed damages, at most, nominal in nature, are unprovable at
 28   trial due to Plaintiff’s failure to comply with applicable statutory requirements
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  1   during discovery, including but not limited to alleged response costs and diminution
  2   in value of the Newland Property.
  3              A.      Plaintiff Provided Insubstantial Evidence Of Damages And Thus
                         Failed To Comply With FRCP Rule 26.
  4

  5              Federal Rule of Evidence 26(a)(1)(A)(iii) requires that Plaintiff “must,
  6   without awaiting a discovery request, provide to the other parties”:
  7              […]
  8              (iii) a computation of each category of damages claimed by the disclosing
                 party—who must also make available for inspection and copying as under
  9              Rule 34 the documents or other evidentiary material, unless privileged or
                 protected from disclosure, on which each computation is based, including
 10              materials bearing on the nature and extent of injuries suffered.
 11              Additionally, the Advisory Committee Notes related to Rule 26 specifically
 12   states as follows:
 13          A party claiming damages or other monetary relief must, in addition to
             disclosing the calculation of such damages, make available the supporting
 14          documents for inspection and copying as if a request for such materials had
 15          been made under Rule 34. (emphasis added)
 16              As discussed in more detail below, Plaintiff has categorically failed to
 17   provide adequate evidence supporting its claim for damages.
 18              Plaintiff’s Initial Disclosures in fact merely state that “Plaintiff does not have
 19   a computation” of its damages, and that “[i]n large part, the calculation of these
 20   damages will be the subject of expert testimony.” Plaintiff’s Initial Disclosures, p.
 21   6, lines 10-15. Under the Federal Rule of Civil Procedure 26, Plaintiff was required
 22   to provide supplemental information regarding its alleged damages and
 23   computations therefor, but failed to do so. Falconer v. Penn Mar., Inc., 232 F.R.D.
 24   37, 41 (D. Me. 2005) (order to preclude warranted where disclosures not properly
 25   supplemented); Villagomes v. Lab'y Corp. of Am., 783 F. Supp. 2d 1121, 1129 (D.
 26   Nev. 2011) (motion in limine proper to exclude evidence of damages where no
 27   computation of categories of damages was provided by the plaintiff, even in the
 28   absence of a specific discovery request).
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  1              Additionally, Plaintiff has generally failed to provide any evidence or
  2   documentation at all relating to the alleged “loss of rent and current limited use” or
  3   the “diminution in the market value” of the Newland Property (Dkt. 1, Plaintiff’s
  4   Complaint, Prayer for Relief, para. 7). Plaintiff provided no substantive responses
  5   to discovery, and produced a mere 45 pages of document production in response to
  6   Excaliber Defendants’ written discovery, wherein the only damages-related
  7   documents were invoices for expert tasks related to this litigation. Nothing in this
  8   document production provides any evidentiary or documentary support for
  9   Plaintiff’s claims regarding the alleged loss of rent or the diminution in value of its
 10   Newland Property.
 11              Notably, Plaintiff’s counsel admitted during the March 8, 2024 hearing on
 12   the parties’ motions in limine that Plaintiff was no longer seeking any damages
 13   related to “loss of rent and current limited use” or the “diminution in the market
 14   value”, and that Plaintiff’s damages claim at trial would be limited to alleged past
 15   response costs totaling $3,000 and injunctive relief.
 16              B.      Plaintiff’s Attempted Reliance On Expert Testimony Is
                         Insufficient And Improper To Prove Damages.
 17

 18              Plaintiff’s attempted reliance on expert testimony to support its damages
 19   claim is similarly misguided. Plaintiff has argued that it has designated Anthony
 20   Brown as its expert witness, and his expected testimony will concern “releases,
 21   migration, contamination, imminent and substantial endangerment, necessary future
 22   remedial action, and associated costs.” However, Mr. Brown is clearly not a
 23   property appraisal expert. As set forth in Plaintiff’s Disclosure of Expert Witnesses,
 24   in pertinent part:
 25              Mr. Brown is an expert hydrologist with over 30 years of experience in
                 hydrogeology, water resources, water quality, fate and transport of
 26              contaminants, groundwater remediation, regulatory strategy, water
 27              resources evaluation, and water supply engineering; a copy of Mr. Brown’s
                 curriculum vitae is attached to his expert report. Mr. Brown is expected to
 28              testify regarding the releases of hazardous substances and wastes at the
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  1              Excaliber Property located at 8482 Westminster Boulevard, Westminster,
                 California 92683 (Excaliber Property), the migration to and contamination of
  2              the soil, groundwater, soil vapor and indoor air at the Newland Property
  3              located at Newland Street, Westminster, California 92683 (Newland
                 Property), the imminent and substantial endangerment posed to human health
  4              by the contamination associated with releases at the Excaliber Property,
  5              remedial action needed to address the releases compliant with the National
                 Contingency Plan (NCP), and the costs associated with the remedial action; a
  6              more complete description of Mr. Brown’s expected testimony is set forth in
                 his expert report which is being served concurrently herewith.
  7

  8              Plaintiff fails to provide any argument, evidence, or authority that Mr.
  9   Brown’s expertise in “hydrogeology, water resources, water quality, fate and
 10   transport of contaminants, groundwater remediation, regulatory strategy, water
 11   resources evaluation, and water supply engineering” qualifies him to provide expert
 12   testimony regarding current appraisal value of the Newland Property and any
 13   diminution in that value stemming from the alleged acts or omissions of Excaliber
 14   Defendants. As such, Mr. Brown is unqualified and unable to opine as to Plaintiff’s
 15   alleged damages.
 16              Furthermore, the report prepared by Mr. Brown does not address damages in
 17   this case, including but not limited to the cost of environmental investigation and
 18   remediation or the alleged diminution in value of the Newland Property. The report
 19   similarly does not state Mr. Brown’s “scientific, technical, or other specialized
 20   knowledge will help the trier of fact to understand the evidence or to determine a
 21   fact in issue” related to Plaintiff’s alleged damages, as required by Rule 702.
 22              Mr. Brown’s report merely concludes that Excaliber Defendants should
 23   implement the activities it has already implemented, and as already set forth in the
 24   governing Corrective Action Plan (Joint Exhibit No. 212)—which was effectuated
 25   by Excaliber Defendants, approved by the Santa Ana Regional Water Quality
 26   Control Board, and has already been implemented at both properties—without
 27   providing any basis for the alleged cost Plaintiff will incur therefor. Notably,
 28   Plaintiff will not incur any costs associated with the ongoing environmental
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  1   activities because Excaliber Defendants are already performing these activities at
  2   the direction of regulatory authorities (and have been doing so for nearly 25 years).
  3              Plaintiff also contends that it has identified “nineteen (19) non-retained
  4   expert witnesses and the subject matter of their expected testimony pertaining to the
  5   site history, conditions, contamination, investigation, testing, remediation,
  6   monitoring and regulatory oversight.” Again, none of these non-retained experts
  7   should be permitted to testify at trial on issues not previously disclosed by Plaintiff,
  8   including damages, due to Plaintiff's failure to comply with the Federal Rule of
  9   Civil Procedure No.26 and failure to provide an adequate basis for any alleged
 10   expertise on the computation of damages in this case as required by Federal Rule of
 11   Evidence 702 and the case law authority cited above.
 12              Accordingly, here, on the eve of trial, Plaintiff has still failed to provide
 13   adequate evidence of its damages, including but not limited to response costs and
 14   the alleged diminution in value of the Newland Property, sufficient to satisfy the
 15   requirements of Rule 26. Outside of a production of documents related to expert
 16   invoices, Excaliber Defendants continue to be in the dark as to Plaintiff’s actual
 17   damages to be claimed at trial.
 18   ///
 19   ///
 20   ///
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  1   V.         CONCLUSION
  2              Excaliber Defendants respectfully request the Court consider the issues
  3   raised above in connection with the jury instructions proposed by the parties and in
  4   connection with its decisions and rulings during trial.
  5
      Dated: March 11, 2024                       Respectfully submitted,
  6

  7                                               NIXON PEABODY LLP
  8
                                                  By: /s/ Stratton P. Constantinides
  9                                                   A. JEANNE GROVE
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 10

 11                                                        Attorney for Defendants and Cross-
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 12
                                                           Hussein M. Berri and Excaliber Fuels
 13
      Dated: March 11, 2024                       Respectfully submitted,
 14

 15                                               COLLINS & KHAN LLP
 16
                                                  By: /s/ Marc A. Collins
 17                                                   MARC A. COLLINS
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 19                                                        Complainants
 20
                                                           Hussein M. Berri and Excaliber Fuels

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